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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA, et al.,

                         Plaintiffs,
                                                        Civil Action No. 12-7758 (MAS) (LHG)
                         v.

  JOHNSON & JOHNSON, et al.,                                            ORDER

                         Defendants.


        This matter came before the Court for a telephone status conference on February 5, 2021.

 During the conference, the Court provided the parties until February 8, 2021 to e-file

 correspondence as to their willingness to attend mediation. Both parties subsequently e-filed

 correspondence indicating that they are willing to engage in mediation with Judge Jose L. Linares

 (Ret.). (Defs.’ Letter, ECF No. 231; Relators’ Letter, ECF No. 232.) Accordingly, based on the

 Court’s inherent authority to control the matters on its docket,

        IT IS on this 8th day of February 2021, ORDERED that:

        1.      This matter is stayed and administratively terminated without prejudice in order to

                afford the parties the opportunity to attend private mediation.

        2.      The February 16, 2021 deadline for the parties to file reply briefs is stayed pending

                the completion of mediation.

        3.      The parties shall e-file correspondence within seven days of the completion of

                mediation, at which time the Court will enter an appropriate order.


                                                              MICHAEL
                                                                CHAEL AA. SHI
                                                                           HIPP
                                                                           H  PP
                                                              UNITED STATES DISTRICT JUDGE
